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                                                January 31, 2022

   By ECF and Electronic Mail
   Honorable John K. Sherwood
   United States Bankruptcy Judge
   United States Bankruptcy Court
   50 Walnut Street, POB 1352
   Newark, NJ 07102

             Re:       John Patrick O’Grady
                       Case no.: 19-19513 JKS
                       Motion to Sell Property-Motion for a stay pending appeal
                       Hearing Date: February 1, 2022, 10:00 a.m.
                       Our file no.: 24671.001

   Dear Judge Sherwood:

           This office represents Barry Donaldson (“Donaldson”), a creditor in the above reference
   matter. Please accept this letter in lieu of a more formal objection to Kopelman’s motion for a stay
   pending appeal. Kopelman’s first point that the order approving the settlement contemplated that
   no distributions to Donaldson should be made until the appeal was decided is patently false. As
   your Honor may recall, Kopelman argued in opposition to the motion to approve the settlement by
   and between my client and the Trustee, that your Honor lacked jurisdiction to approve the
   settlement because it allegedly interfered with the District Court’s jurisdiction over the appeal.
   Your Honor rejected that argument and as a result, specifically indicated that Kopelman could
   proceed with his appeal notwithstanding the approval of the settlement. Kopelman’s position that
   it was your Honor’s intention by putting that language in the Order that your Honor wanted the
   appeal to be decided before any distribution to Donaldson lacks any merit whatsoever.

          This is further supported by the fact at the hearing on the settlement motion, Kopelman
   asked your Honor for a stay pending appeal to which your Honor advised Kopelman to file a
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motion. Kopelman did not timely file a motion for a stay, but rather filed it more than four months
later on short notice in response to Donaldson’s response to the Trustee’s sale motion.

       Kopelman’s argument that the settlement order contemplated a stay pending appeal is
simply not true.

        Moreover, Donaldson objects to the entry of an order staying the settlement order pending
the determination of Kopelman’s appeal. Kopelman has not met his burden to make a strong
showing of the likelihood of success on the merits, that the appellant would suffer irreparable
injury absent a stay, that a stay would not substantially harm Donaldson and that the stay is in the
public interest.

        First of all, as to Kopelman’s argument on the likelihood of success on appeal, the standard
of review on a motion to approve a settlement is an abuse of discretion. In re: Martin, 91 F3d. 389,
391 (3rd Cir. 1995). Accordingly, your Honor would have to determine that the District Court
would find that your ruling constituted an abuse of your Honor’s discretion. Kopelman has not met
his burden as he has not addressed the standard for approval of settlements as set forth in In re:
Martin, 91 F3d 389 (3rd Cir. 1995), and how this standard was not met. Kopelman simply restates
he is correct on the underlying issues without addressing the settlement at all. Not to rehash the
facts in support of the settlement, I note your Honor recognized that the cost of litigation, the
amount of the sale proceeds in dispute, and that the ability of the Bankruptcy Estate to receive
proceeds from the sale notwithstanding Donaldson’s significant lien provided strong support for
the approval of the settlement. I cannot fathom any basis by which the District Court could rule
that your Honor abused your discretion in approving the settlement by and between Donaldson
and the Trustee.

        Furthermore, Kopelman will not suffer irreparable harm as his chance of success on the
appeal is zero. There is significant harm to Donaldson in the event the settlement order is stayed.
As your Honor may recall, Donaldson’s claim in the case was $1,900,000.00 and it was alleged
that he was defrauded by the Debtor. As part of the bargained for exchange with the Trustee as
memorialized in the settlement, Donaldson not only agreed to reduce his interest in the net
proceeds of sale from what was approved in the confirmed plan, but he also agreed to subordinate
the balance of his claim to that of other creditors so other creditors could receive a distribution in
this case. In return for that bargain, the Trustee agreed and this Court approved, the settlement
through which Donaldson was to be paid 45% of the sale proceeds at closing. In the event that
your Honor stays the settlement order, Donaldson loses the benefit of his bargain as the Trustee’s
agreement to pay Donaldson at closing was a material inducement to him reducing the amount he
was to receive from the sale proceeds and the subordination of his claim. Accordingly, staying the
settlement order and not allowing payment to Donaldson at closing will serve as a modification of
a material term of the settlement that was approved by this Court.
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        Lastly, granting a stay does not further the public interest. Kopelman states that this
element is satisfied because he thinks he raised some novel issue of law however, I do not believe
this satisfies the public interest standard nor could it be further from the truth. Kopelman’s
interpretation of the New Jersey Court Rule he cited for the proposition that an order of the
Superior Court is required before a judgment creditor can levy on real estate is incorrect based
upon a plain reading of the rule. Moreover, it is clearly not in the public interest to delay the
administration of a bankruptcy case and distributions to all creditors due to a meritless appeal.
Accordingly, Kopelman’s burden to prove a stay serves the public interest has not been met.

       For the foregoing reasons, Donaldson respectfully submits that the order approving the
settlement should not be stayed pending appeal.

                                                    Respectfully submitted,

                                                    GENOVA BURNS LLC

                                                    /s/ SCOTT S. REVER
                                                    SCOTT S. REVER

SSR:drm
cc:   cc:    Michael Kopelman, Esq. (kopelaw@kopelmannj.com)
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